Case: 1:17-cv-03656 Document #: 19 Filed: 06/28/17 Page 1 of 11 PageID #:81



                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

PATRICIA RODRIGUEZ,                              )
                                                 )
               PLAINTIFF,                        )   Case no.: 17cv3656
                                                 )
               v.                                )   Judge Edmond E. Chang
                                                 )
CODILIS & ASSOCIATES, P.C.                       )
and SERVIS ONE, INC.                             )
d/b/a BSI FINANCIAL SERVICES,                    )
                                                 )
               DEFENDANTS.                       )

                           FIRST AMENDED COMPLAINT

       Plaintiff, Patricia Rodriguez, brings this First Amended Complaint to secure

redress for relief against Defendants Codilis & Associates, P.C. and Servis One, Inc.

d/b/a BSI Financial Services. Plaintiff alleges violations of the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692 et seq.

                                VENUE AND JURISDICTION

       1.      Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), 28 U.S.C. §

1331, and supplementary jurisdiction, if any, arises under 28 U.S.C. § 1367.

       2.      Venue in this District is proper as to Defendants Codilis & Associates,

P.C. and Servis One, Inc. d/b/a BSI Financial Services because Defendants transact

business here and the debt collection activity upon which this Complaint is based was

performed here.


                                          PARTIES

       3.      Plaintiff, Patricia Rodriguez, (“Mrs. Rodriguez” or “Plaintiff”) is a natural

person and resident of Cook County, Illinois, from whom Defendants Codilis &

                                             1
Case: 1:17-cv-03656 Document #: 19 Filed: 06/28/17 Page 2 of 11 PageID #:82



Associates, P.C. and Servis One, Inc. d/b/a BSI Financial Services attempted to collect a

defaulted debt, allegedly owed for a defaulted mortgage loan, alleged to be owed to

Christian Trust. Mrs. Rodriguez is thus a “consumer” as defined by 15 U.S.C. § 1692a(3)

of the Fair Debt Collection Practices Act (“FDCPA”).

       4.        Defendant Codilis & Associates, P.C. (“Codilis”) is a law firm

headquartered in Cook County, Illinois and is a debt collector, as defined by § 1692a(6)

of the FDCPA, because it regularly uses the mail, litigation and/or the telephone to

collect, or attempt to collect, directly or indirectly, defaulted consumer debts due or owed

or asserted to be due or owed another.

       5.        The principal purpose of Codilis’s business is the collection of defaulted

consumer debts via litigation, telephone, and/or the mails.

       6.        In 2016, Codilis filed over 1000 debt collection lawsuits in Cook County,

Illinois, to collect defaulted consumer debts.

       7.        Defendant Servis One, Inc. d/b/a BSI Financial Services (“BSI”) is a loan

servicer that began servicing the defaulted mortgage loan after Plaintiff was alleged to

have defaulted on the same.

       8.        BSI is as a debt collector, as defined by § 1692a(6) of the FDCPA,

because it regularly uses the mail and/or the telephone to collect, or attempt to collect,

directly or indirectly, defaulted consumer debts due or owed, or asserted to be due or

owed, another.

                                         STANDING

       9.        Plaintiff has standing because she has suffered an injury-in-fact as the

result of Defendants’ actions. Specifically, Defendants each have misrepresented



                                                 2
Case: 1:17-cv-03656 Document #: 19 Filed: 06/28/17 Page 3 of 11 PageID #:83



the amount of the alleged debt that each have attempted to collect, which is enough to

establish Article III standing despite the fact that she never paid the illegal amounts

sought. See, e.g., Keele v. Wexler, 149 F.3d 589, 593-594 (7th Cir. 1998).

       10.     Defendants’ communications have resulted in a substantial risk of harm to

Plaintiff. Had Plaintiff paid the illegal amounts sought, she would have either paid more

or less than the “total amount” owed on the alleged debt, to her detriment. Thus, the

wrongly-stated amounts sought as being due created a real risk of harm in the form of

potential overpayment, or underpayment of the alleged debt. Though the risk of harm

from overpayment is obvious, Plaintiff could also have been harmed by underpaying on

the alleged debt due to her understanding that the “total amount due” before a date certain

actually included all amounts due—when Defendants’ apparent current position is that

the “total” that was communicated to Plaintiff is not really the total, but just part of the

amounts due and owing. Thus, Plaintiff could have based her decision to pay based on

erroneous information—information which could have affected her decision, and ability,

to pay the alleged debt, or not.

       11.     Because Defendants’ misrepresentations as to the amounts owed

deprived Plaintiff of accurate material information that posed a risk of real harm, she

satisfies the concrete-harm requirement. See, e.g., Lane v. Bayview Loan Servicing, LLC,

No. 15 C 10446, 2016 U.S. Dist. LEXIS 89258, at *14-16 (N.D. Ill. July 11, 2016).

                                             FACTS

       12.     According to Defendants, Mrs. Rodriguez defaulted on a mortgage loan

and thus incurred a debt (“alleged debt”). The debt was incurred in connection with a

mortgage loan that Mrs. Rodriguez obtained for purchase of her primary residence, and



                                              3
 Case: 1:17-cv-03656 Document #: 19 Filed: 06/28/17 Page 4 of 11 PageID #:84



thereafter transferred to Christiana Trust. The debt was thus incurred for personal, family,

or household purposes. The debt she incurred is thus a debt as that term is defined by §

1692a(5) of the FDCPA.

        13.    Specifically, according to Defendants, Mrs. Rodriguez failed to make

payments the balance on the alleged debt.

        14.    The alleged debt was in default before BSI began servicing it on behalf of

Christiana Trust.

        15.    BSI assigned to, or placed the debt with, Codilis for collection from the

Plaintiff.

        16.    Codilis was authorized to attempt to collect the alleged debt on behalf of

BSI.

        17.    At all times relevant to this Complaint, BSI authorized, directed and

ratified Codilis’ actions taken in connection with the collection of the alleged debt from

Mrs. Rodriguez.

        18.    Codilis acted in a representative capacity on behalf of BSI.

        19.    Codilis’ employees or representatives were acting at the control and

direction of BSI, which is vicariously liable for the actions of Codilis’ employees and/or

representatives.

        20.    On January 5, 2016, Christiana Trust, through BSI and its attorneys

Codilis, filed a lawsuit against Mrs. Rodriguez in an attempt to collect the alleged debt.

The Complaint was styled as Christiana Trust, a Division of Wilmington Savings Fund

Society, FSB, not in its individual capacity but as Trustee of ARLP Trust v. Patricia




                                             4
Case: 1:17-cv-03656 Document #: 19 Filed: 06/28/17 Page 5 of 11 PageID #:85



Rodriguez et al, case # 2016 CH 000100 in the Circuit Court of Cook County, Illinois

(“State Action”).

        21.     Thereafter, Defendants filed a motion for entry of an order of default and

judgment of foreclosure and sale (“Motion”). (see attached Exhibit).

        22.     The Motion was mailed to Plaintiff on or after May 13, 2016, and was

filed in connection with the collection of the alleged debt.

        23.     The Motion contains an “Affidavit of Amounts Due and Owing” that

states in part as follows:

        ____________________________________________________
        Total Amount Due through 4/14/2016       **$198,765.76

        (see attached Exhibit)

        24.     The “Affidavit of Amounts Due and Owing” was signed by “Natalie

Owens”, and was notarized on March 25, 2016.

        25.     The “Affidavit of Amounts Due and Owing” states that “Prior Attorney

Fees” are $765.00.

        26.     The Motion also contains a document that purports to be a letter from BSI

mailed to Plaintiff, dated March 16, 2016, that contains a “payoff calculation”, which

states as follows:

        Total Amount to Pay Loan in Full on 4/14/16            $210,781.65

        (see attached Exhibit)

        27.     The letter dated March 16, 2016 containing a “payoff calculation” was

mailed by BSI, though not received by Plaintiff or her attorney, other than as part of the

Motion. The letter does not state that BSI is a debt collector, and misrepresents that the

next payment on the loan was due on March 1, 2015.

                                              5
Case: 1:17-cv-03656 Document #: 19 Filed: 06/28/17 Page 6 of 11 PageID #:86



       28.     The Motion misrepresents the amount of the debt, as the “total” amount

due to pay the loan in full cannot be both $198,765.76 and $201,781.65 if paid on or

before 4/14/2016, and thus at least one said amount is incorrect.

       29.     The Motion also includes a “Certificate of Prove-up of Attorney Fees and

Costs” that seeks a “Total” amount of attorney fees and costs of $3246.00.

       30.      The “Certificate of Prove-up of Attorney Fees and Costs” states that

$1610 is owed in “Foreclosure Attorney Fees”, $250 is owed in “Amended Complaint

Attorney Fees”, and $100 is owed in “Case Management Attorney Fees”.

       31.     The total amount of attorney fees stated as being owed in the “Certificate

of Prove-up of Attorney Fees and Costs” is $1960.00

       32.     The amount of attorney fees stated as being owed in the “Certificate of

Prove-up of Attorney Fees and Costs”—$1960.00—does not match the figure in the

“Affidavit of Amounts Due and Owing”, which states that “Prior Attorney Fees” are

$765.00.

       33.     There is no explanation as to how the $1960 in attorney fees stated to be

owed in the “Certificate of Prove-up of Attorney Fees and Costs” can be reconciled with

the $765 figure that is listed as being owed for “prior attorney fees”, in the “Affidavit of

Amounts Due and Owing”.

       34.     As “prior attorney fees” is listed as a line item in the “Affidavit of

Amounts Due and Owing”, an unsophisticated consumer would be confused when

presented with a vastly different amount of attorney fees in the “Certificate of Prove-up

of Attorney Fees and Costs”, which also purports to communicate the amount of attorney

fees owed to date.



                                              6
Case: 1:17-cv-03656 Document #: 19 Filed: 06/28/17 Page 7 of 11 PageID #:87



        35.     This is especially true due to the fact that the “Affidavit of Amounts Due

and Owing” states that the “Total Amount Due through 4/14/2016” is $198,765.76,

which would include all attorney fees incurred to that date, since prior attorney fees are

listed as a line item. (emphasis added).

        36.     An unsophisticated consumer would read the words “total amount” due to

mean that payment of the amount listed would satisfy the obligation in full.

        37.     Communicating a “Total Amount Due through 4/14/2016” which

excludes various attorney fees and costs that are in fact also due and owing falsely states

the total amount due, and would confuse the unsophisticated consumer.

        38.     Communicating two different total amounts due through the same date—

04/14/2016—would confuse the unsophisticated consumer, as at least one of the amounts

is incorrect and thus false.

        39.     The addition of the amount of $3246 in the “Certificate of Prove-up of

Attorney Fees and Costs” to the $198,765.76 figure in the “Affidavit of Amounts Due

and Owing” does nothing to clarify the confusion, as the resulting sum of $202,011.76

does not match the “total amount to pay loan in full figure of $201,781.65, contained in

the BSI letter dated March 16, 2016, attached within the Motion.

        40.     The BSI letter dated March 16, 2016, attached within the Motion, also

contains a line item titled “unpaid late charges” for the amount of $873.73 due in said

amount if paid on or before 04/14/2016.

        41.     The “Affidavit of Amounts Due and Owing”, however, states that late

charges are only $268.84 for the same time period—to 04/14/2016.




                                             7
Case: 1:17-cv-03656 Document #: 19 Filed: 06/28/17 Page 8 of 11 PageID #:88



       42.     Communicating two different amounts for late charges due through the

same date—04/14/2016—would confuse the unsophisticated consumer, as at least one of

the amounts is incorrect and thus false.

       43.     Defendants communicated to Plaintiff, and sought to collect, “unpaid late

charges” to which BSI was not entitled under any applicable agreement or Illinois law.

       44.     Defendants communicated to Plaintiff, and sought to collect, attorney fees

in a false amount.

       45.     Defendants’ representations of amounts due of $198,765.76 and

$201,781.65 as the “total” amounts due are false, as Defendants sought further money

from Plaintiff beyond the “total” amounts due that they state, which renders each amount

a misrepresentation of the actual “total” amount due and owing on or before 04/14/2016.

       46.     BSI is liable for the actions of Codilis, committed in connection with the

collection of the alleged debt from Plaintiff. Janetos v. Fulton Friedman & Gullace, LLP,

No. 15-1859, 2016 U.S. App. LEXIS 6361, at *20 (7th Cir. Apr. 7, 2016) (“Asset

Acceptance is itself a debt collector, so under the logic of Pollice and Fox, it may be held

liable for Fulton's violations of the Act in the course of activities undertaken on its

behalf.”).

       47.     Section 1692e of the FDCPA provides as follows:

       § 1692e. False or misleading misrepresentations

       A debt collector may not use any false, deceptive, or misleading
       representation or means in connection with the collection of any debt.
       Without limiting the general application of the foregoing, the following
       conduct is a violation of this section:
       …
       (2) The false representation of—
       (A) the character, amount, or legal status of any debt; or
       (B) any services rendered or compensation which may be lawfully received

                                              8
Case: 1:17-cv-03656 Document #: 19 Filed: 06/28/17 Page 9 of 11 PageID #:89



             by any debt collector for the collection of a debt.
       …
       (10) The use of any false representation or deceptive means to collect or
       attempt to collect any debt or to obtain information concerning a consumer.


       48.     Defendants violated §§ 1692e, e(2)(A), e(2)(B), and e(10) of the FDCPA

when they made false, deceptive, and/or misleading representations in the connection

with the collection of a debt.

       49.     Specifically, Defendants violated § 1692e of the FDCPA when they made

false, deceptive, or misleading representations in the Motion as to the amounts of

attorney fees, charges, costs, late fees and/or other amounts owed by Plaintiff, and BSI

also violated section 1692e by misrepresenting the deadline for making the next

payment on the loan in its letter to Plaintiff.

       50.     Defendants violated § 1692e(2)(A) of the FDCPA when they made false,

deceptive, or misleading representations in the Motion, falsely representing the

character, amount, or legal status of the debt as Plaintiff did not owe the amounts stated

to be owed.

       51.     BSI violated § 1692e(11) of the FDCPA by failing to communicate, in its

letter dated March 16, 2016, that it is a debt collector, as the letter was not the first

communication to Plaintiff from BSI made in connection with the collection of the

alleged debt. In the alternative, if the March 16, 2017 letter was the initial

communication with Plaintiff from BSI in connection with the collection of the alleged

debt, then BSI violated § 1692g of the FDCPA by failing to provide a Notice of Debt to

Plaintiff within five days of the initial communication with Plaintiff made in connection

with the collection of the debt.



                                              9
Case: 1:17-cv-03656 Document #: 19 Filed: 06/28/17 Page 10 of 11 PageID #:90



       52.     Defendants violated § 1692e(10) when they made false, deceptive, or

misleading representations in the Motion. Specifically, Defendants violated §1692e(10)

by using false representations or deceptive means to collect a debt by misrepresenting

the amounts that Plaintiff owed.

       53.     Section 1692f of the FDCPA provides as follows:

A debt collector may not use unfair or unconscionable means to collect or attempt to
collect any debt. Without limiting the general application of the foregoing, the
following conduct is a violation of this section:
(1) The collection of any amount (including any interest, fee, charge, or expense
incidental to the principal obligation) unless such amount is expressly authorized by
the agreement creating the debt or permitted by law.

       54.     Defendants violated 1692f and f(1) by attempting to collect amounts from

Plaintiff that were not authorized by the agreement creating the debt or permitted by law.

       55.     Plaintiff was distressed by receiving the false and conflicting information,

and was also confused, irritated and upset as a result.

       56.     Defendants’ collection communications and activities are to be interpreted

under the “unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd.

Partnership, 27 F.3d 1254, 1257 (7th Cir. 1994).

       57.     As a result of Defendants’ actions, Plaintiff is entitled to an award of

actual damages, statutory damages, costs and reasonable attorney fees.

              REQUEST FOR RELIEF—FDCPA—BSI AND CODILIS

       WHEREFORE, Plaintiff requests that judgment be entered in her favor against

Defendants for the following:

       a.      Statutory damages pursuant to 15 U.S.C. § 1692k(a)(2);

       b.      Actual damages pursuant to 15 U.S.C. §1692k(a)(1);




                                             10
Case: 1:17-cv-03656 Document #: 19 Filed: 06/28/17 Page 11 of 11 PageID #:91



       c.      Costs and reasonable attorney fees pursuant to 15 U.S.C.
               § 1692k(a)(3); and

       d.      Such other or further relief as this Court deems proper.



                                              Respectfully Submitted,

                                              By: /s/ M. Kris Kasalo




The Law Office of M. Kris Kasalo, Ltd.                By: s/ Mario Kris Kasalo
20 North Clark Street, Suite 3100                            Mario Kris Kasalo
Chicago, Illinois 60602
tele 312.726.6160
fax 312.698.5054
mario.kasalo@kasalolaw.com


                             CERTIFICATE OF SERVICE

        I, Mario Kris Kasalo, an attorney, certify that I shall cause to be served a copy of
FIRST AMENDED COMPLAINT in this case that will be served upon each party that
has filed an appearance herein, via their attorneys of record via ECF, on June 28, 2017.



                                                      By: /s/Mario Kris Kasalo
                                                             Mario Kris Kasalo




                                             11
